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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 SUNZ INSURANCE SOLUTIONS, LLC,

          Plaintiff,

 v.                                            Case No. 8:23-CV-2517-SDM-CPT

 DOCKS SUTHERLAND, ET AL.,

       Defendants.
 ___________________________

                          Uniform Case Management Report

        The goal of this case management report is to “secure the just, speedy, and
 inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
 3.02(a)(2), this case management report should be used in all civil cases except those
 described in Local Rule 3.02(d). Individual judges may have additional case
 management preferences that can be found under each judge’s name on the Court’s
 website, flmd.uscourts.gov/judges/all.

 1. Date and Attendees

      The parties may conduct the planning conference “in person, by telephone, or by
      comparable means[.]” See Local Rule 3.02(a)(1).

      The parties conducted the planning conference on Tuesday, March 25, 2025. The
      counsel attending the conference included:
          Jason L. Margolin, Esq., counsel for plaintiff.
          Christopher S. Carver, Esq., counsel for plaintiff.
          Keenan Molaskey, Esq., counsel for plaintiff.
          Heather DeGrave, Esq., counsel for defendant (Mr. Altschuler)
          Scott M. Hare, Esq., counsel for defendants (Mr. Harvey & Mr. Sutherland)
          Matthew R. Lasky, Esq., counsel for defendants (Mr. Harvey & Mr.
            Sutherland)

       Paige Greenlee, Esq., appeared on April 15, 2025, as counsel for the entity
 defendants (WorkCentric, LLC; WorkCentric 2, LLC; WorkCentric 3, LLC;
 Embraceor, LLC; WC TopCo, LLC; and WC Container, LLC). Following her
 appearance, Ms. Greenlee joined in the proposed schedule below.



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 2. Deadlines and Dates

     The parties request these deadlines and dates:

      Action or Event                                                                Date

      Deadline for defendants to respond to the Complaint by motion or
                                                                                     4/28/2025
      answer

      Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                     4/28/2025
      P. 26(a)(1).

      Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                      5/8/2025
      or amend the pleadings, see Fed. R. Civ. P. 15(a).

      Deadline for serving expert disclosures under Rule 26(a)(2),
      including any report required by Rule 26(a)(2)(B).
                                                                         Plaintiff    8/1/2025
                                                                     Defendants      8/15/2025
                                                                         Rebuttal     9/5/2025
      Deadline for completing discovery and filing any motion to compel
                                                                                     9/19/2025
      discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

      Deadline for moving for class certification, if applicable. See Fed. R.           N/A
      Civ. P. 23(c).

      Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                     10/17/2025
      P. 56. (Must be at least five months before requested trial date.)

      Deadline for participating in mediation. See Local Rules, ch. 4.
                                                                                     9/12/2025
      Robert M. Daisley, Esq. (who mediated this case previously on
      11/30/2023)

      Date of the final pretrial meeting. See Local Rule 3.06(a).                    10/24/2025

      Deadline for filing the joint final pretrial statement, any motion in
      limine, proposed jury instructions, and verdict form. See Local Rule           11/14/2025
      3.06(b). (Must be at least seven days before the final pretrial conference.)

      Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                     12/1/2025
      Rule 3.06(b).




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                                                                               December
      Month and year of the trial term.
                                                                                 2025


     The trial will last approximately two to four days and be

     ☐ jury.
     ☒ non-jury.

 3. Description of the Action

     PLAINTIFF: Sunz Insurance Solutions, LLC (“Sunz”) sues the entity defendants for
     breach of several agreements executed as part of a large-deductible workers’
     compensation insurance program administered by Sunz and covering employees
     of the entity defendants (the “WC Entities”). Sunz sues the individuals defendants
     for breach of guaranty (Sheldon Altschuler), breach of fiduciary duty (Docks
     Sutherland) and aiding and abetting the breach of fiduciary duty (David Harvey).
     Sunz maintains that the United States Bankruptcy Court for the District of
     Delaware, recently dismissed by a now-final order dated March 13, 2025 (Bankr.
     Doc. 266, Case No. 24-10040, has already resolved substantially all of the disputed
     issues; consequently, this action is not complex.

     DEFENDANTS SUTHERLAND AND HARVEY: Sutherland and Harvey (the “Non-
     Guarantor Defendants”) deny owing any fiduciary duties to Sunz, and anticipate
     filing a motion to dismiss. To the extent they remain parties to this action, they
     further anticipate filing counterclaims, cross-claims and third-party claims. The
     Non-Guarantor Defendants disagree that the rulings in the bankruptcy case have
     preclusive effect as to them, and therefore disagree that this action is “substantially
     resolved” and non-complex as it relates to them and the claims by and against
     them.

     DEFENDANT ALTSCHULER: Altschuler denies liability and the amount of
     Plaintiff’s claim. Further, Altschuler anticipates filing crossclaims and third-party
     complaints. Altschuler disagrees that the rulings in the bankruptcy case have
     preclusive effect in this case.

     DEFENDANTS WORKCENTRIC, LLC; WORKCENTRIC 2, LLC; WORKCENTRIC
     3, LLC; EMBRACEOR, LLC; WC TOPCO, LLC; AND WC CONTAINER,
     LLC: WorkCentric, LLC; WorkCentric 2, LLC; WorkCentric 3, LLC;
     Embraceor, LLC; WC TopCo, LLC; and WC Container, LLC (the “Entity
     Defendants”) admit the authenticity of the contracts attached to the Complaint and
     acknowledge the rulings in the bankruptcy case, which are final. The Entity



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     Defendants lack sufficient knowledge to contest any liability beyond the amount
     the Entity Defendants agreed was due and owing to Sunz in the Forbearance
     Agreement and Pledge Agreement.

 4. Disclosure Statement

     ☒ Each party has filed a disclosure statement using the required form.

 5. Related Action

     ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
     notify the judge of a related action pending in the Middle District or elsewhere by
     filing a “Notice of a Related Action.” No notice need be filed if there are no related
     actions as defined by the rule.

 6. Consent to a Magistrate Judge

     “A United States magistrate judge in the Middle District can exercise the maximum
     authority and perform any duty permitted by the Constitution and other laws of the United
     States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
     matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
     28 U.S.C. § 636(c).

     The Court asks the parties and counsel to consider the benefits to the parties and the Court
     of consenting to proceed before a magistrate judge. Consent can provide the parties
     certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
     can decide not to consent and continue before the district judge without adverse
     consequences. See Fed. R. Civ. P. 73(b)(2).

     ☐ The parties do consent and file with this case management report a completed
     Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
     Judge,” which is available on the Court’s website under “Forms.”
     ☒ The parties do not consent.

 7. Preliminary Pretrial Conference

     ☒ The parties do not request a preliminary pretrial conference before the Court
     enters a scheduling order.
     ☐ The parties do request a preliminary pretrial conference, and the parties want to
     discuss enter discussion points.




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 8. Discovery Practice

     The parties should read the Middle District Discovery Handbook, available on the Court’s
     website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
     in this District.

     ☒ The parties confirm they will comply with their duty to confer with the opposing
     party in a good faith effort to resolve any discovery dispute before filing a motion.
     See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

 9. Discovery Plan

     The parties submit the following discovery plan under Rule 26(f)(2):

     A.       The parties agree to the timing, form, or requirement for disclosures under
              Rule 26(a):

              ☒ Yes.
              ☐ No; instead, the parties agree to these changes: enter changes.

     B.       Discovery may be needed on these subjects: Plaintiff’s claims and any
              individual Defendant’s defenses.

     C.       Discovery should be conducted in phases:

              ☒ No.
              ☐ Yes; describe the suggested phases.

     D. Are there issues about disclosure, discovery, or preservation of
        electronically stored information?

              ☒ No.
              ☐ Yes; describe the issue(s).

     E.       ☒ The parties have considered privilege and work-product issues,
              including whether to ask the Court to include any agreement in an order
              under Federal Rule of Evidence 502(d).




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     F.       The parties stipulate to changes to the limitations on discovery imposed
              under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
              limitations:

              ☒ No.
              ☐ Yes; describe the stipulation.

 10. Request for Special Handling

     ☒ The parties do not request special handling.
     ☐ The parties request special handling. Specifically, describe requested special
     handling.
     ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
     requested special handling.

 11. Certification of familiarity with the Local Rules

     ☒ The parties certify that they have read and are familiar with the Court’s Local
     Rules.

 12. Signatures

  /s/ Jason L. Margolin                              /s/ Heather A. DeGrave
  Akerman LLP                                        Walters Levine DeGrave
  Jason L. Margolin, Esq.                            Heather A. DeGrave, Esq.
  Attorney for Plaintiff, Sunz Insurance             Attorney for Defendant, Sheldon
  Solutions, LLC                                     Altschuler

  /s/ Scott M. Hare                                  Paige A. Greenlee
  Raines Feldman Littrell LLP                        Greenlee Law PLLC
  Scott M. Hare, Esq.                                Paige A. Greenlee, Esq.
  Attorney for Defendants, Docks                     Attorney for WorkCentric, LLC;
  Sutherland and David Harvey                        WorkCentric 2, LLC; WorkCentric 3,
                                                     LLC; Embraceor, LLC; WC TopCo,
                                                     LLC; and WC Container, LLC




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